(1 of 3), Page 1 of 3         Case: 24-880, 02/20/2024, DktEntry: 2.1, Page 1 of 3

                                            Office of the Clerk
                           United States Court of Appeals for the Ninth Circuit
                                          Post Office Box 193939
                                   San Francisco, California 94119-3939
                                               415-355-8000                              FILED
    Molly C. Dwyer
    Clerk of Court                                                                        FEB 20 2024
                                                                                      MOLLY C. DWYER, CLERK
                                                                                       U.S. COURT OF APPEALS

                                          DOCKETING NOTICE


           Docket Number:           24-880
           Originating Case Number: 3:22-cv-07182-WHA

           Short Title:                 Center for Investigative Reporting, et al. v. United States
                                        Department of Labor

          Dear Appellant/Counsel


          A copy of your notice of appeal/petition has been received in the Clerk's office of the
          United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
          number shown above has been assigned to this case. You must indicate this Court of
          Appeals docket number whenever you communicate with this court regarding this case.
          Motions filed along with the notice of appeal in the district court are not automatically
          transferred to this court for filing. Any motions seeking relief from this court must be
          separately filed in this court's docket.
          Please furnish this docket number immediately to the court reporter if you place an order,
          or have placed an order, for portions of the trial transcripts. The court reporter will need
          this docket number when communicating with this court.
          Failure of the appellant to comply with the time schedule order may result in
          dismissal of the appeal.
          Please read the enclosed materials carefully.
(2 of 3), Page 2 of 3         Case: 24-880, 02/20/2024, DktEntry: 2.1, Page 2 of 3

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                           United States Court of Appeals for the Ninth Circuit
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                                               415-355-8000
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   Clerk of Court



                                        TIME SCHEDULE ORDER


           Docket Number:           24-880
           Originating Case Number: 3:22-cv-07182-WHA

           Case Title:                   Center for Investigative Reporting, et al. v. United
                                         States Department of Labor



           Monday, February 26, 2024
           United States Department of Labor                     Mediation Questionnaire due

           Thursday, February 29, 2024
           United States Department of Labor                     Appeal Transcript Order Due

           Monday, April 1, 2024
           United States Department of Labor                     Appeal Transcript Due

           Thursday, May 9, 2024
           United States Department of Labor                     Appeal Opening Brief Due

           Monday, June 10, 2024
           Center for Investigative Reporting                    Appeal Answering Brief Due
           Will Evans                                            Appeal Answering Brief Due


          If there were reported hearings, the parties shall designate and, if necessary, cross-
          designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
          hearings, the transcript deadlines do not apply.
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          The optional reply may be filed within 21 days of service of the answering brief. See
          Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
          Failure of the appellant to comply with the time schedule order may result in
          automatic dismissal of the appeal. See 9th Cir. R. 42-1.
